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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF SOUTH CAROLINA

              CONFERENCE AND SCHEDULING ORDER

                    Civil Action No. 3:18-cv-02015-DCC

                         JUDGE DONALD C. COGGINS, JR.

                             NOTICE TO COUNSEL

Attached please find a proposed scheduling order for your review and comment. The 2000
Amendments to the Federal Rules of Civil Procedure, and subsequent amendments to the local
rules for this District, now require that, early in the litigation, counsel meet, confer, and submit
certain information to the Court. Some of the requested information is needed to formulate a
scheduling order. The judges of this district have determined that the most feasible way of
accomplishing this is for the Court to enter a tentative scheduling order with a request that the
parties meet and determine if the dates proposed by the Court are acceptable.

In this action, the Court wishes to conduct a conference with the attorneys of record
pursuant to Rule 16 of the Federal Rules of Civil Procedure. The Court will conduct the
Rule 16 conference in Chambers on September 24, 2018 at 2:00 PM in the Donald S.
Russell Courthouse, 201 Magnolia Street, Spartanburg, South Carolina. Prior to this Rule
16 conference, the parties shall meet and confer to discuss the information outlined in this
scheduling order and shall be prepared to provide the Court with an oral Rule 26(f) report. Given
these procedures, there is no need for the parties to file a written Rule 26(f) report.

The parties are reminded that a scheduling order “‘is not a frivolous piece of paper, idly entered,
which can be cavalierly disregarded by counsel without peril.’” Forstmann v. Culp, 114 F.R.D.
83, 85 (M.D.N.C. 1987) (quoting Gestetner Corp. v. Case Equip. Co., 108 F.R.D. 138, 141 (D.
Me. 1985)).

The Local Civil Rules for the District of South Carolina, as well as forms and other important
information, are available on this District’s website at:

                               www.scd.uscourts.gov
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                            IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION


Earline Johnson,                        )              CA 3:18-cv-02015-DCC
                                        )
               Plaintiff(s),            )
                                        )              CONFERENCE AND
                       v.               )              SCHEDULING ORDER
                                        )
Kim Transport, Inc., et. al.,           )
                                        )
               Defendant(s).            )


        Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this
District, the Court hereby establishes the following schedule for this case. This Scheduling
Order is entered to administer the trial of this case in a manner consistent with the Federal Rules
of Civil Procedure’s goal of securing “the just, speedy, and inexpensive determination of every
action and proceeding.” Fed. R. Civ. P. 1.

    1. Rule 26(f) Conference: A conference of the parties pursuant to Fed. R. Civ. P. 26(f) shall
       be held no later than August 21, 2018.1 At the conference, the parties shall confer
       concerning all matters set forth in Fed. R. Civ. P. 26(f) and whether the schedule set forth
       in this order is appropriate and, if not, what modifications are necessary. The parties shall
       also consider whether they wish to consent to trial before a United States Magistrate
       Judge. See Notice of Availability of United States Magistrate Judge, appended hereto.


    2. Rule 26(a)(1) Initial Disclosures: The parties shall exchange the required initial
       disclosures2 under Fed. R. Civ. P. 26(a)(1) no later than the date of the Rule 16 Pretrial
       Conference, which is discussed below. Additionally, the parties should be prepared to
       generally discuss the subject matter of these disclosures at the Rule 16 Pretrial
       Conference.

    3. Rule 16 Pretrial Conference: The Court wishes to conduct a conference with the attorneys
       of record pursuant to Fed. R. Civ. P. 16. The Court will conduct the Rule 16 conference

1
 Plaintiff’s counsel shall initiate scheduling of the Fed. R. Civ. P. 26(f) conference with all
counsel known to plaintiff regardless of whether they have filed appearances.
2
 Pursuant to Fed. R. Civ. P. 26(a)(1), the parties may, by stipulation, agree not to make
some or all of the Rule 26(a)(1) initial disclosures. If such a stipulation is made, it shall be
confirmed in writing between the parties. See Local Civil Rule 29.01 (D.S.C.).
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       in Chambers on September 24, 2018 at 2:00 PM in the Donald S. Russell Courthouse,
       201 Magnolia Street, Spartanburg, South Carolina. Matters to be taken up at the
       conference will include all items identified in Rule 16(a) and (c). Additionally, counsel
       shall be prepared to provide the Court with an oral Rule 26(f) report.3

    4. Amendment of Pleadings: Any motions to join other parties and to amend the pleadings
       shall be filed by October 15, 2018.

    5. Expert Disclosures:

           A. Plaintiff(s) shall file and serve a document identifying by full name, address, and
              telephone number each person whom Plaintiff(s) expects to call as an expert at
              trial and certifying that a written report prepared and signed by the expert pursuant
              to Fed. R. Civ. P. 26(a)(2)(B) or, where allowed, a report prepared by counsel has
              been disclosed to the other parties by November 9, 2018.

           B. Defendant(s) shall file and serve a document identifying by full name, address,
              and telephone number each person whom Defendant(s) expects to call as an
              expert at trial and certifying that a written report prepared and signed by the expert
              pursuant to Fed. R. Civ. P. 26(a)(2)(B) or, where allowed, a report prepared by
              counsel has been disclosed to the other parties by December 10, 2018.

    6. Records Custodians: Counsel shall file and serve affidavits of records custodian witnesses
       proposed to be presented by affidavit at trial no later than December 31, 2018.
       Objections to such affidavits must be made within 14 days after the service of the
       disclosures. See Fed. R. Evid. 803(6), 902(11), or 902(12) and Local Civil Rule
       16.02(D)(3) (D.S.C.).

    7. Discovery: Discovery shall be completed no later than January 28, 2019. All discovery
       requests shall be served in time for the responses thereto to be served by this date. De
       bene esse depositions must be completed by the discovery deadline. No motions relating
       to discovery shall be filed until counsel have consulted and attempted to resolve the
       matter as required by Local Civil Rule 7.02 (D.S.C.), and have had a telephone
       conference with Judge Coggins in an attempt to resolve the matter informally. The
       request for a telephone conference should be made within the time limit prescribed
       by local rule for filing such a motion. Attorneys should send a request for a
       telephone conference via e-mail to coggins_ecf@scd.uscourts.gov. The parties shall
       set forth their respective positions in their request.

    8. Motions: All dispositive motions, Daubert motions, and all other motions, except those to

3
 Given the procedures outlined in this order, there is no need for the parties to file a written
Rule 26(f) report, as required by many other judges in the District. Additionally, parties are
hereby notified that Local Civil Rule 26.03 (D.S.C.) lists additional queries, which
should be filed no later than 14 days after the Rule 16 Pretrial conference.
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       complete discovery, those nonwaivable motions made pursuant to Fed. R. Civ. P. 12, and
       those relating to the admissibility of evidence at trial (other than Daubert motions), shall
       be filed on or before February 11, 2019.

    9. Mediation: Mediation shall be completed in this case on or before February 25, 2019.
       See Judge Coggins’ Standing Mediation Order (setting forth mediation requirements).


    10. Pretrial Disclosures: No later than April 8, 2019 the parties shall file and exchange Fed.
        R. Civ. P. 26(a)(3) pretrial disclosures. Within 14 days thereafter, a party shall file and
        exchange Fed. R. Civ. P. 26(a)(3) objections, any objections to use of a deposition
        designated by another party, and any deposition counter-designations under Fed. R. Civ.
        P. 32(a)(6).

    11. Motions in Limine: Motions in limine must be filed no later than March 29, 2019.
        Written responses are due 7 days after the motion is filed.

    12. Pretrial Briefs and Exhibits: Parties shall furnish the Court pretrial briefs 7 days prior to
        the date set for jury selection.4 Local Civil Rule 26.05 (D.S.C.). Attorneys shall meet at
        least 7 days prior to the date set for submission of pretrial briefs for the purpose of
        exchanging and marking all exhibits. See Local Civil Rule 26.07 (D.S.C.).

    13. Jury Selection and Trial: This case is subject to being called for jury selection and/or trial
        on or after April 29, 2019.

         The parties’ attention is specifically directed to Local Civil Rule 5.03 (D.S.C.) regarding
the filing of confidential material. The parties’ attention is also directed to the Court’s website
regarding instructions or other orders that may be applicable to your case.

                                                              s/Donald C. Coggins, Jr.
                                                              United States District Judge
Dated: August 2, 2018
Spartanburg, South Carolina

Pursuant to Local Civil Rule 83.I.06 (D.S.C.), this Order is being sent to local counsel only.




4
 The pretrial brief information found in Local Civil Rule 26.05(A)–(M) (D.S.C.) shall be
submitted only to the Judge’s chambers. However, pretrial brief information contained in
Local Civil Rule 26.05(N)–(O) (D.S.C.) shall be served on opposing parties.
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                       IN THE UNITED STATES DISTRICT COURT
                                           DISTRICT OF SOUTH CAROLINA


Earline Johnson,                                          )                  CA 3:18-cv-02015-DCC
                                                          )
                   Plaintiff(s),                          )
                                                          )        NOTICE, CONSENT, AND REFERENCE OF A
                             v.                           )        CIVIL ACTION TO A MAGISTRATE JUDGE
                                                          )
Kim Transport, Inc., et. al.,                             )
                                                          )
                   Defendant(s).                          )


       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The
judgment may then be appealed directly to the United States court of appeals like any other judgment of this court. A
magistrate judge may exercise this authority only if all parties voluntarily consent.

      You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

      Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate
judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

        Parties’ printed names                    Signatures of parties or attorneys                    Dates
_____________________________                    _____________________________              _____________________________
_____________________________                    _____________________________              _____________________________
_____________________________                    _____________________________              _____________________________
_____________________________                    _____________________________              _____________________________




                                                              Reference Order

     IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date: ___________________                                                        _____________________________________
                                                                                          District Judge’s signature

                                                                                 _____________________________________
                                                                                            Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
      United States magistrate judge. Do not return this form to a judge.
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                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION


Earline Johnson,                        )             CA 3:18-cv-02015-DCC
                                        )
       Plaintiff(s),                    )
                                        )             ORDER TO CONDUCT
                   v.                   )             MEDIATION
                                        )
Kim Transport, Inc., et. al.,           )
                                        )
               Defendant(s).            )

        A mediation is to be completed in this matter in accordance with the time limits set forth
in the Scheduling Order issued in this case. Upon completion of the mediation, counsel shall
advise the Court in writing only that the mediation has occurred, the date of the mediation,
whether the case was settled in whole or in part, and whether a trial is necessary.

        Attorneys primarily responsible for handling the trial, parties, and/or insurance
representatives with full settlement authority1 are ORDERED to be present in person and will
be excused only for good cause shown. Every person who is excused from attending in person
must be available to participate by telephone, unless otherwise ordered. At the mediation,
primary trial counsel, along with parties, and/or their insurer representatives, should be prepared
to participate in a mutual, good faith effort to negotiate a fair and reasonable settlement. All
necessary discovery must be completed prior to mediation. Lack of discovery or settlement
authority is no excuse for failure to appear and/or participate.

        Communications made in connection with or during the mediation are confidential and
protected by Fed. R. Evid. 408, Local Civ. R. 16.08(C) (D.S.C.), and Fed. R. Civ. P. 68. If a
settlement is not reached at mediation, settlement discussions are neither admissible at trial nor
to be disclosed to the presiding judge, except as allowed by Local Civ. R. 26.05 (D.S.C.).

        If any reason exists why any person, party, or counsel subject to this Order should not
participate in this mediation, the Court is to be advised of these reasons in writing immediately.

       Notices have been mailed to all counsel of record and any pro se parties. Counsel are


1
  “Full settlement authority” for the Defendant means an individual who can decide to offer
the Plaintiff a sum up to the existing demand of the Plaintiff or the policy limits of any
applicable insurance policy, whichever is less. “Full settlement authority” for the Plaintiff
means the Plaintiff himself or herself or a representative of the Plaintiff who can make a
binding decision on behalf of the Plaintiff or Plaintiffs.
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responsible for notifying and ensuring the presence of parties and/or insurance representatives as
described above.

       Any questions concerning the selection of a mediator or the mediation process generally
should be referred to the Court’s ADR Program Director, Danny Mullis, at (843) 579-1435.

       AND IT IS SO ORDERED.

                                                            s/Donald C. Coggins, Jr.
                                                            United States District Judge
August 2, 2018
Spartanburg, South Carolina
